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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                   CYBER TECHNOLOGIES LIMITED’S
                                               ADMINISTRATIVE MOTION TO FILE
14         v.                                  STATUS REPORT UNDER SEAL
15   NSO GROUP TECHNOLOGIES LIMITED            Judge: Hon. Phyllis J. Hamilton
     and Q CYBER TECHNOLOGIES LIMITED,
16                                             Action Filed: 10/29/2019
                 Defendants.
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      DEFENDANTS’ ADMINISTRATIVE                                    Case No. 4:19-cv-07123-PJH
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies

 2 Limited and Q Cyber Technologies Limited (collectively, the “Defendants”), by and through their

 3 undersigned counsel, hereby submit this Administrative Motion to File Under Seal (the “Motion”):

 4 (1) certain language in Defendants’ Status Report to the Court (Declaration of Aaron S. Craig filed

 5 concurrently herewith (“Craig Decl.”) Exh. F) and (2) certain language in paragraphs 3-8 and 10

 6 of the concurrently filed Craig Declaration. (The unredacted Craig Declaration and Exhibit F are

 7 collectively referenced as the “Sealed Documents.”)

 8          The Motion is based upon the points and authorities set forth herein, as well as those facts

 9 attested to in the accompanying Craig Declaration.

10 I.       BACKGROUND

11          The Complaint was filed October 29, 2019. (Dkt. No. 1.) Defendants were served on

12 March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. No. 45.)

13 Plaintiffs served their RFPs on June 4, 2020, seeking swaths of information that would cause

14 Defendants to violate Israeli law if Defendants were forced to produce the information. (Craig.

15 Decl. ¶ 2.) This Court stayed discovery shortly after Plaintiffs served their RFPs. (Dkt. No. 155.)

16 After the stay ended, the Court held a status conference at which it instructed the parties to meet

17 and confer over the effect of Israeli law on Plaintiffs’ RFPs and if the parties cannot resolve the

18 issue, for Defendants to file a motion for protective order. The parties met and conferred but could
19 not reach a resolution, forcing Defendants to file a motion for protective order. (Craig Decl. ¶ 2.)

20          For information about additional matters relevant to this Motion, the Court is respectfully

21 referred to paragraphs 3 through 8 of the accompanying Craig Declaration.

22 II.      LEGAL STANDARDS

23          Although courts recognize a general right to inspect and copy public records, “access to

24 judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

25 (9th Cir. 2006). The showing necessary to seal materials depends on how closely related those

26 materials are to the merits of the case. A party seeking to seal materials submitted with a motion

27 that is “more than tangentially related to the merits of the case” must demonstrate that there are

28 compelling reasons to keep the documents under seal. Ctr. for Auto Safety v. Chrysler Grp., LLC,
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 1   809 F.3d 1092, 1101–02 (9th Cir. 2016). On the other hand, “[a] party seeking leave to file

 2 documents under seal in conjunction with a non-dispositive motion” need only show “good cause

 3 exists to file the information under seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-

 4 cv-00362-PJH, 2018 WL 2392561, at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the

 5 “good cause” standard, the relevant inquiry is “whether good cause exists to protect the

 6 information from being disclosed to the public by balancing the needs for discovery against the

 7 need for confidentiality.” Wells Fargo & Co. v. ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013

 8 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013) (Hamilton, J.).

 9          Here, Defendants seek to file under seal the Craig Declaration and Defendants’ Status

10 Report to the Court, which relate to a motion for a protective order (which is not a dispositive

11 motion). Accordingly, the “good cause” standard applies to this Motion. Even if the higher

12 “compelling reasons” standard applied, that standard is met here.

13 III.     LEGAL ARGUMENT

14          This Motion is supported by good cause (and to the extent required, by compelling reasons)

15 based on the facts attested to in the Craig Declaration and the exhibit thereto. The Sealed

16 Documents contain highly sensitive, non-public information, the disclosure of which would

17 prejudice Defendants and other parties not before the Court. See, e.g., Compal Elecs., Inc. v. Apple

18 Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v. Ras Al Khaimah Free Trade

19 Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017); Strauss v. Credit Lyonnais, S.A.,

20 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011). Therefore, Defendants now seek leave of this

21 Court to file the Sealed Documents under seal.

22          Good cause exists to seal each of the Sealed Documents, and Defendants respectfully

23 request that the Court grant this Motion and order the Sealed Documents be kept under seal. For

24 a full description of that good cause, the Court is respectfully referred to paragraph 10 of the

25 accompanying Craig Declaration. Defendants have closely analyzed each of the documents being

26 filed and, for each, Defendants are asking the Court to file under seal only the bare minimum

27 amount necessary.

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 1   IV.    CONCLUSION

 2          For the reasons set forth above and in the accompanying Craig Declaration, Defendants

 3   respectfully request that the Court grant this Motion and order the Sealed Documents to be kept

 4   under seal.

 5   DATED: May 25, 2023                            KING & SPALDING LLP
 6                                                  By: /s/Aaron S. Craig
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 9                                                      CYBER TECHNOLOGIES LIMITED
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